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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division


   BIEDERMANN TECHNOLOGIES
   GmbH & CO. KG,


                         Plaintiff,
   V.                                                           Case No. 2:18cv585


   K2M, INC. and K2M GROUP
   HOLDINGS, INC.,


                         Defendants




                                 OPINION AND ORDER


         This patent infringement action is before the Court on cross-

   motions     for   judgement   as   a   matter    of    law    C'JMOL")   filed   by

   Plaintiff Biedermann Technologies GmbH & Co. KG (''Biedermann") and

   Defendants K2M, Inc. and K2M Group Holdings, Inc. (collectively,

   ''K2M") /   pursuant to Rule 50(b) of           the    Federal Rules of     Civil

   Procedure.    ECFNos. 985, 987.        Both parties' motions alternatively

   seek a new trial pursuant to Rule 59.                 Id.    As explained below,

   Biedermann's motion is GRANTED in part and DENIED in part, and

   K2M's motion is DENIED.


                                  I. BACKGROUND


         At the conclusion of a two-week trial, the jury returned a

   verdict finding that two products sold by K2M infringe on patents

   owned by Biedermann.      ECF No. 966.     The jury separately found that

   K2M had proved by clear and convincing evidence that five asserted

   patent claims across four Biedermann patents were invalid in light
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